
54 So. 3d 640 (2011)
Gregory Cornelius BYRD, Petitioner,
v.
STATE of Florida, Respondent.
No. 1D11-0502.
District Court of Appeal of Florida, First District.
February 28, 2011.
Shelley C. Eckels, Jacksonville, for Petitioner.
Pamela Jo Bondi, Attorney General, Tallahassee, for Respondent.
PER CURIAM.
The petition seeking belated appeals of the judgments and sentences rendered on June 3, 2010, in Duval County Circuit Court case numbers 2009-15819-CFA and 2010-3189-CFA, is granted. Upon issuance of mandate in this cause, copies of this opinion shall be furnished to the clerk of the lower tribunal for treatment as a notice of appeal in each of the foregoing cases. The court notes that the Office of the Public Defender has been appointed to represent petitioner in the appeals authorized by this opinion.
KAHN, DAVIS, and HAWKES, JJ., concur.
